 Case 2:19-cv-09739-SB-AS Document 157 Filed 10/06/21 Page 1 of 2 Page ID #:9465


                                                           October 6, 2021
 1
 2                                                             VPC

 3                                                          JS-6
 4
 5
 6
 7
 8
 9                       UNITED STATES DISTRICT COURT
10        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
12
     CATALINA TORRES, individually,            Case No.: 2:19-cv-09739-SB-AS
13
                Plaintiff,                     Hon. Stanley Blumenfeld, Jr.
14
          v.
15                                             ORDER GRANTING JOINT
     BOSTON SCIENTIFIC                         STIPULATION OF DISMISSAL
16   CORPORATION, a Massachusetts              WITH PREJUDICE
     corporation,
17
                Defendant.
18
19
20
21
22
23
24
25
26
27
28

                                      ORDER GRANTING STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                   CASE NO.: 2:19-CV-09739-SB-AS
 Case 2:19-cv-09739-SB-AS Document 157 Filed 10/06/21 Page 2 of 2 Page ID #:9466


 1         Having considered Plaintiff Catalina Torres and Defendants Boston Scientific
 2
     Corporation’s Joint Stipulation of Dismissal With Prejudice, this Court HEREBY
 3
 4   GRANTS the stipulation and dismisses this case, with prejudice, each party to bear

 5   their own fees and costs.
 6
           IT IS SO ORDERED.
 7
 8
 9   Dated: October 6, 2021                     ___________________________________
                                                HON. STANLEY BLUMENFELD, JR.
10                                              United States District Court Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          -2-
                                       ORDER GRANTING STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                    CASE NO.: 2:19-CV-09739-SB-AS
